Case 2:05-Cr-20280-BBD Document 40 Filed 08/31/05 Page 1 of 2 Page|D 42

IN THE UNITED sTATEs DIsTRlCT coURT F*LE° B'*' -~-- D~°~

 

 

 

FOR THE WESTERN DISTRICT OF TENNESSE _
WEsTERN DIVISION 165 AU'G 31 P" 3‘ 39
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CLEHK, U.S. §?L"BTHET CUJHT
UNITED STATES OF AMERICA Wm r-.F.' '§j ‘_` ti;:,`._‘:§\_l_§p%
v.
PREMERIA D. BERRY 05€1'20280-1-[)
ORDER ON ARRAIGNMENT
This cause came to be heard on 08 - 51 ' 05 the United States Attorney

 

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME S/W'\ U EL 19 EJOI.| 105 who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

\/ The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
5 7 _<.

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18 USC 1344 and 2
BANK FRAUD

Attorney assigned to Case: C. Mcl\/[ullen

Age: 30

0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:05-CR-20280 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

